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The Honorable David C. Nye

 

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO NORTHERN DISTRICT

CHRISTIE M. BOSS, )
)
Plaintiff, ) No. 2:20-cv-00405-DCN
)
VS. ) NOTICE OF
) DISASSOCIATION
LaRIVIERE, INC., an Idaho for profit )
corporation, and THOMAS LaRIVIERE, )
Ill, a married man, )
)
Defendants. )
)
TO: Clerk of the Court

AND TO: Kara Heikkila and Amy Mensik, Counsel for Defendants:

NOTICE OF DISASSOCIATION (2:20-cv-00405) _. .P. 1

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Case 2:20-cv-00405-DCN Document 59 Filed 06/28/22 Page 2 of 3

PLEASE BE ADVISED that Laura J. Black is no longer an attorney
with Sayre Sayre & Fossum, P.S., and is no longer an attorney of record in
the above matter.

DATED this 47’ ut Gay of June, 2022.
SAYRE SAYRE & FOSSUM, P.S.

By: & lle. £- AL
Michelle K. Fossum, WSBA #20249
Attorneys for Plaintiff Christie Boss

 

NOTICE OF DISASSOCIATION (2:20-cv-00405) .. ..P.2

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Case 2:20-cv-00405-DCN Document 59 Filed 06/28/22 Page 3 of 3

DECLARATION OF SERVICE
The undersigned declares under penalty of perjury under the laws of
the State of Idaho that on this day, I electronically filed a true and accurate
copy of the document to which this declaration is affixed with the Clerk of
the Court using the CM/ECF System, which will send notification of such

filing to the following:

Kara Heikkila, ISBA #8090
Amy Mensik, WSBA #44258
Witherspoon Kelley
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Coeur d’ Alene, ID 83814
klh@witherspoonkelley.com
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rod@stephenslawfirm.com
kathryn@stephenslawfirm.com

j s My
Dated this A —day of June, 2022, at Spokane, Washington.

/s/Gina Christensen
Gina Christensen, Paralegal

NOTICE OF DISASSOCIATION (2:20-cv-00405) . . ..P.3

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